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 8   Toskovic, AJ Marbory, Jennifer Benson, Shekinah Reese, and Jarriesse Blackmon
 9                    UNITED STATES DISTRICT COURT
10                   CENTRAL DISTRICT OF CALIFORNIA

11   BLAKE LIVELY,                             Case No.: 2:25-mc-00055
12                            Movant,
13           v.
14   TERA HANKS, ASHMI ELIZABETH               DECLARATION OF SUMMER E.
                                               BENSON IN SUPPORT OF
15   ANG, AHMED MUSIOL, MITZ                   RESPONDENTS’ POSITION IN
     TOSKOVIC, AJ MARBORY,                     THE JOINT STIPULATION IN
16   JENNIFER BENSON, SHEKINAH                 OPPOSITION TO MOVANT
                                               BLAKE LIVELY’S MOTION TO
17   REESE, AND JARRIESSE                      COMPEL COMPLIANCE WITH
     BLACKMON,                                 THIRD-PARTY SUBPOENAS
18
                              Respondents.
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 1                     DECLARATION OF SUMMER E. BENSON
  2         I, Summer E. Benson, declare as follows:
 3          1.     I am an attorney at law licensed to practice in the State of California
 4    and admitted before this Court. I am an attorney with the law firm of Liner
  5   Freedman Taitelman + Cooley, LLP and counsel of record for Respondents Tera
 6    Hanks, Mitz Toskovic, Ahmed Musiol, Ashmi Elizabeth Dang, Jariesse Blackmon,
 7    AJ Marbory, and Jennifer Benson (collectively, the "Wayfarer Third Parties") in
 8    this action. I submit this declaration in support of the Wayfarer Third Parties'
 9    Position in the Joint Stipulation Regarding Movant Blake Lively's ("Lively")
10    Motion to Compel Discovery (the "Motion").
11          2.     Attached hereto as Exhibit 1 is a true and correct copy of a letter
12    submitted to the United States District Court for the Southern District of New York
13    by the Wayfarer Third Parties on or about June 13, 2025.
14          3.     Attached hereto as Exhibit 2 is a true and correct copy of email
15    correspondence between counsel for the Wayfarer Third Parties and counsel for
16    Lively from June 6 to 13, 2025.
17
18          I declare under penalty of perjury that the foregoing is true and correct to
19    the best of my knowledge and belief.
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21          Executed this 16th day of June, 2025 at Los Angeles, California.
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        DECLARATION OF SUMMER E. BENSON IN SUPPORT OF RESPONDENTS' POSITION IN THE JOINT
       STIPULATION IN OPPOSITION TO MOYANT BLAKE LIVELY'S MOTION TO COMPEL COMPLIANCE
                                  WITH THIRD-PARTY SUBPOENAS
